                  Case: 1:17-cr-00442 Document #: 123 Filed: 11/30/18 Page 1 of 9 PageID #:689



                                  I-INITED STATES DISTRICT COURT
                                                          Northern District of Illinois


                LINITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                            v.

                        HIRSH MOHINDRA                                              Number:
                                                                                 Case                   l: l7-CR-00442(l)
                                                                          )      USU Number:            52471-424
                                                                          )
                                                                          )
                                                                          )      ImaniChiphe
                                                                          )      D.ferd-i'r   d**.,
THE DEFENDANT:
I   pleaded guilty to count(s)   Count 1 (one) of the Indictment.
E                           count(s) which was accepted by the court.
    pleaded nolo contendere to
E   was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:
 Title & Section / Nature of Offense                                                                      Ended
                                                                                                      Offense                     Count
 l8:1343.F Fraud By Wire, Radio, Or Television                                                        1U04/201I                   I




The defendant is sentenced as provided in pages 2 through 9 ofthis judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

E the defendant    has been found not guilty on count(s)

8   Count(s)   2,3,4   and 5 of the Indictment are dismissed on the motion of the United States.

It is ordered that the defendant must notifo the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notiry the court and United States Attomey of material changes in economic circumstances.


                                                                                    November 21,2018
                                                                                    Date oJllposition of   Judqment
                                                                                                               , (            ?


                                                                                     ,.= Ei' ( t-- *-' lz.r.L' ''             -

                                                                                    Signature ofJudge

                                                                                    Elaine E. Bucklo, United States District Judge
                                                                                    Name and Title of Judge
                                                                                            .'/
                                                                                        /r1 jcL / /,V
                                                                                    Date
                     Case: 1:17-cr-00442 Document #: 123 Filed: 11/30/18 Page 2 of 9 PageID #:689
ILND 2458 (Rev. 03/2912018) Judgment in   a   Criminal Case
    - Imprisonment
Sheet 2                                                                                                                      Judement- Pase 2 of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: 1 :17-CR-00442(l\
                                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
FOURTEEN (14) MONTHS as to Count                              I   (one) of the Indictment.

tr       The court makes the following recommendations to the Bureau of Prisons: That the defendant be incarcerated at the Oxford
Correctional Institution.
tr        The defendant is remanded to the custody of the United States Marshal.

tr        The defendant shall surrender to the United States Marshal for this district:

          traton
     tr        as   notified by the United States Marshal.

     E         The defendant shall surrender for service ofsentence at the institution designated by the Bureau ofPrisons:

          tr         before 2:00 pm on February 19,2019.

          tr         as   notified by the United States Marshal.

          tr         as   notified by the Probation or Pretrial Services Office.




                                                                           RETURI\I

I have executed this judgment as follows:




Defendant delivered       on                   to                                 at                            , with a certified copy of this
judgment.




                                                                                             UNITED STATES MARSHAL


                                                                                       By
                                                                                             DEPUTY UNITED STATES MARSHAL
                        Case: 1:17-cr-00442
ILND 2458 (Rev.3l29l20l8) Judgment in
                                                  Document #: 123 Filed: 11/30/18 Page 3 of 9 PageID #:689
                                     a Criminal Case
    - Supervised Release
Sheet 3                                                                                                                             Judgment- Page 3   of9
DEFENDANT: HIRSH MOHTNDRA
CASE NUMBER: 1:17-CR-00442(1)

           MANDATORY CONDTTTONS OF SUPERVTSED RELEASE PURSUANT TO                                                            18 U.S.C $ 3583(d)

                                                                     ised release for a term of:
-\--po-9..yJ1e,9:9....!o".v-!np,Llr"grnsrl,
ffffi{thxffi###lt:ffi:#
          You must report to the probation office in the district to which you are released within 72 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
 E (l) you shall not commit another Federal, State, or local crime.
 A (2) you shall not unlawfully possess a controlled substance.
 tr (3) you shall attend a public, private, or private nonprofit offender rehabilitation     program that has been approved by the court,               if
                an approved program is readily available within a 5O-mile radius of your legal residence. [Use for a first conviction of a
                domestic violence crime, as defined in $ 3561(b).1
 tl       (4)   you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. S
                16913).
 A        (5) you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
 tr       (6) you shall refrain from any unlawful use of a conffolled substance AND submit to one drug test within l5 days of release on
                supervised release and at least two periodic tests thereafter, up to I 04 periodic tests for use of a controlled substance during
                each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
                if reliable sentencing information indicates a low risk of future substance abuse by the defendant.l


  DISCRETIONARY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C                                                                   S   3s63(b) AND
                                                                       18 U.S.C $ 3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term of supervised release because such
                                     -
conditions are reasonably related to the factors set forth in $ 3553(aXl) and (aX2XB). (C). and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (O. and (D)l and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
 E (l)             you shall provide financial support to any dependents iffinancially able.
 tr Q)             you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ 3663(a) or
                   g   3663A(cXlXA)).
 tr (3)            you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows: Wj l       .
 A @)              you shall seek, and work conscientiously at, lawful employment or pursue conscientiously a course of study or
                   vocational training that will equip you for employment.
 a        (s)      you shall refrain from engaging in a specified occupation, business, or profession bearing a reasonably direct relationship
                   to the conduct constituting the offense, or engage in such a specified occupation, business, or profession only to a stated
                   9_gg* _q191"$9#tg]F_4.*-9.1-{9ynstaxces; (if checked yes, please indicate restriction(s)l      ffiWpftfuffi#Mg&
 E        (6)      you shall refiain from knowingly meeting or communicating with any person whom you know to be engaged, or
                   planning to be engaged, in criminal activi-qr-_-?!l-4,from:
                   tr     visiting the following type of places: ffir,*x.
                                                                                                    :.ffi
                   tr     knowingly meeting or communicating with the following persons:           i_rffi
 tr       (j)      you shall refrain from     E   any or   E   excessive use ofalcohol (defined as   E   having a blood alcohol concentration greater
                   than 0.08); or        E , or any use of a narcotic drug or other controlled substance, as defined in $ 102 of the Controlled
                   Substances Act @! U.S.C. $ 802), without a prescription by a licensed medical practitioner.
 E        (8)      you shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
 tr       (e)      tr     you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                          include urine testing up to a maximum of 104 tests per year.
                         Case: 1:17-cr-00442
ILND 2458 (Rev.3l29l20l8) Judgment in
                                                  Document #: 123 Filed: 11/30/18 Page 4 of 9 PageID #:689
                                      a Criminal Case
    - Supervised Release
Sheet 3                                                                                                                         Judgment-Page4of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: I : l7-CR-00442(l)
                    tr    you shall participate, at the direction of a probation officer, in a mental health heatment program, which may include
                          the use of prescription medications.                                                                             is;$sss*,,
                    tr   you shall participate, at the direction of a probation officer, in medical care; (if checked yes, please specifo: W.Ii,.,.)
 tr (10)            (intermittent confinement)'.:J--g-gshall remain in the custody of the Bureau of Prisons during nights, weekends, or other
                    intervals of time, totaling  ffiffi  [no more than the lesser of one year or the term of imprisonment authorized for the
                    offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in $
                    3563(bxl0) shall be imposed only for a violation of a condition. o-f supervised release in accordance with g 3583(e)(2)
                    and only when facilities are available) for the following periodWff-i:l .
 tr       (l   l)   (community confinement): you shall reside at, or participate in the program of a community corrections facility
                    (including a facility ma-i.n!ail.!d or under contract to the Bureau of Prisons) for all or part of the term of supervised
                    release, for a period of ffimonths.
 tr 02)                                                ) .'"
                    you shall work in community service fo.             hours as directed by a probation officer.
 tr (13) you shall reside in the following place or area:"'=., ,:, or refrain from residing in a specified place or area: --*;6&i,
 E (14) you shall remain within the jurisdiction where you are being supervised, unless granted permission to leave by the court
           or a probation officer.
 E  (15)   you  shall report to a probation officer as directed by the court or a probation officer.
 E (16) A you shall permit a probation officer to visit you I at any reasonable time or I as specified:
                  I at home                  I at work                   I at school                 I at a community service location
                  I other reasonable location specified by a probation officer
           A you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
 tr (17) you shall notiff a probation officer promptly, within 72 hours, of any change in residence, employer, or workplace and,
           absent constitutional or other legal privilege, answer inquiries by a probation officer.
 tr ( I 8) you  shall notifo a probation oflicer promptly, within 72 hours, if arrested or questioned by a law enforcement officer.
 tr (19)   (home confinement): you shall remain at your place of residence for a total of {4W months during nonworking hours.
                    [This condition may be imposed only as an alternative to incarceration.]
                    tr     Compliance with this condition shall be monitored by telephonic or electronic signaling devices (the selection of
                           which shall be determined by a probation officer). Elecffonic monitoring shall ordinarily be used in connection
                           with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                           in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                           whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                           is recommended that home confinement with voice identification be ordered, which will provide for random
                           checks on your whereabouts. Home detention with elechonic monitoring or voice identification is not deemed
                           appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                           history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                           elsewhere; requires frequent travel inside or outside the district; or is required to work more than 60 hours per
                             week.
                    tr       You shall pay the cost of electronic monitoring or voice identification at the daily contractual rate, if you are
                             financially able to do so.
                    tr      The Court waives the electronic/location monitoring component of this condition.
 tr Q0)             you shall comply with the terms of any court order or order of an administrative process pursuant to the law of a State,
                    the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                    support and maintenance of a child or of a child and the parent with whom the child is living.
 tr Ql)             (deportation): you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                    determination on the issue of deportability by the appropriate authority in accordance with the laws under the
                    Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                    reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
                    Secretary of the Department of Homeland Security.
 E Q2)              you shall satisff such other special conditions as ordered below.
 tr Q3)             (if required to register under the Sex Offender Registration and Notification Act) you shall submit at any time, with or
                    without a warrant, to a search ofyour person and any property, house, residence, vehicle, papers, computer, other
                    electronic communication or data storage devices or media, and effects, by any law enforcement or probation officer
                    having reasonable suspicion concerning a violation of a condition of supervised release or unlawful conduct by you, and
                    by any probation officer in the lawful discharge ofthe officer's supervision functions (see special conditions section).
 tr Q4)             Other:
                     Case: 1:17-cr-00442 Document #: 123 Filed: 11/30/18 Page 5 of 9 PageID #:689
ILND 2458 (Rev. 3D912018) Judgment in   a   Criminal Case
    - Supervised Release
Sheet 3                                                                                                                   Judgment-Page 5 of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: 1:17-CR-00442(1)

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C.3563(bX22) and 3s83(d)
The court imposes those conditions identified by checkmarks below:



During the term ofsupervised release:
 tr (l) if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
                Development (GED) preparation course and seek to obtain a GED within the first year of supervrsron.
 trQ)           you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
                days of placement on supervision.
 a        (3)   you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
                fiom employment, perform at least 20 hours of community service per week at the direction of the U.S. Probation Office
                until gainfully employed. The amount of community service shall not exceed $ffi hours. ( I 00 hours of every year of
                supervised release.
 trg)           you shall not maintain employment where you have access to other individual's personal information, including, but not
                limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
 a (s)          you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer unless
                you are in compliance with the financial obligations imposed by this judgment.
 tr       (6)   you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
                with conditions of supervised release.
 tr0)           you shall notifu the court of any material change in your economic circumstances that might affect your ability to pay
                restifution, fines, or special assessments.
 tr       (8)   you shall provide documentation to the IRS and pay taxes as required by law.
 tr       (e)   you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
                probation officer. You shall comply with all recommended treatment which may include psychological and physiological
                testing. You shall maintain use of all prescribed medications.
                tr      You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                        United States Probation Office. You shall consent to the installation of computer monitoring software on all
                        identified computers to which you have access. The software may restrict and/or record any and all activity on the
                        computer, including the capture of keystrokes, application information, Internet use history, email
                        correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                        warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
                        in any way circumvent the software.
                tr      The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                        to satisfaction of other financial obligations imposed by this judgment.
                tr      You shall not possess or use any device with access to any online computer service at any location (including
                        place of employment) without the prior approval of a probation officer. This includes any Internet service
                        provider, bulletin board system, or any other public or private network or email system.
                tr      You shall not possess any device that could be used for covert photography without the prior approval ofa
                        probation officer.
                u       You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                        sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                        to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                        determination, pursuant to 18 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modifu the
                        conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
                tr     You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                       you in unsupervised private contact with any person under the age of I 8, or visit locations where children
                       regularly congregate (e.g., Iocations specified in the Sex__O_-ffender Registration and Notification Act.)
                tr      This condition does not apply to your family members:    S;   jf   pamesl
                tr      Your employment shall be restricted to the district and division where you reside or are supervised, unless
                       approval is granted by a probation officer. Prior to accepting any form of employment, you shall seek the
                       approval ofa probation officer, in order to allow the probation officer, the opportunity to assess the level ofrisk to
                       the community you will pose if employed in a particular capacity. You shall not participate in any volunteer
                       aclivity that may cause you to come into direct contact with children except under circumstances approved in
                       advance by a probation officer and treatment provider.
                     Case: 1:17-cr-00442 Document #: 123 Filed: 11/30/18 Page 6 of 9 PageID #:689
ILND 2458 (Rev. 3/2912018) Judgment in   a   Criminal Case
    - Supervised Release
Sheet 3                                                                                                                   Judgment-Page6of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: 1 : 1 7-CR-00442(l)
                tr      You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                        any other financial information requested.
                tr      You shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                        impose restrictions beyond those set forth in this order.
 A (10)         you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the co-mmencement of the
                term of supervised release. Your monthly payment schedule shall be an amount that is at least Iff/o of your net monthly
                income, defined as income net ofreasonable expenses for basic necessities such as food, shelter, utilities, insurance, and
                employment-related expenses.
 E (11)         you shall not enter into any agreement to act as an informer or special agent of a law enforcement agency without the
                permission of the court.
 tr 02)         you shall repay the United States "buy money" in the amount of     $        which you received during the commission of
                this offense. (The Clerk of the Court shall remit the funds to        (include Agency and Address).)
 E (13)         if the probation officer determines that you pose a risk to another person (including an organization or members of the
                community), the probation officer may require you to tell the person about the risk, and you must comply with that
                instruction. Such notification could include advising the person about your record ofarrests and convictions and
                substance- u_s,e. The probation officer may contact the person and confirm that you have told the person about the risk.
 tr (14) Other:,'1 l#ffiff
                   Case: 1:17-cr-00442 Document #: 123 Filed: 11/30/18 Page 7 of 9 PageID #:689
ILND 2458 (Rev. 3/2912018) Judgment in   a   Criminal Case
Sheet 5 - Criminal Monetary Penalties                                                                                       Judgment   -   Page 7 of 9

DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: 1 :17-CR-00442(l\
                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                      Assessment     JVTA Assessment*                         Fine                     Restitution
 TOTALS                                                  $100.00                     $.00                      $.00              $   1.4s4.621.00



 tr      The determination of restitution is deferred        until     . An Amended Judgment in a Criminql Case (Ao 245qwill be entered after such
         determination.
 E       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes apartial payment,   each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to l8 U.S.C. S 3664(D, all nonfederal
         victims must be paid before the United States is paid.


      Restitution of $534,062.00 to:

          HOUSING AND URBAN DEVELOPMENT FHA*
          HUD FOC DEBT
          PO BOX 979056
          SAINT LOUIS, MO 63I97.9000
          s301,534.00

          WELLS FARGO
          WFHM-RESTITUTIONS
          I HOME CAMPUS,4TH FL.
          SUCCESSOR FOR PzuMARY RESIDENT
          DES MOINES, IA 50328
          $232,528.00

      Restitution of $920,559.00, jointly and severally with co-defendant Brian Patterson (1:17-cr-00442-3),to:

          HOUSING AND URBAN DEVELOPMENT FHA*
          HUD FOC DEBT
          PO BOX 979056
          SAINT LOUIS, MO 63I97-9OOO

          $635,388.00

          MORTGAGE SOLUTIONS OF COLORADO DOVENMUEHLE MORTGAG
           I CORPORATE DR., SUITE               360
          LAKE ZURICH, IL 60047

          s24,643.00

          WELLS FARGO
          WFHM-RESTITUTIONS
          1 HOME CAMPUS,4TH FL,
          SUCCESSOR FOR PRIMARY RESIDENT
          DES MOINES,IA 50328

          $260,528.00

      *federal agency to be paid after all other victims receive full restitution.
                  Case: 1:17-cr-00442 Document #: 123 Filed: 11/30/18 Page 8 of 9 PageID #:689
ILND 245B (Rev.3l29l20l8) Judgment in aCriminal Case
Sheet 5 - Criminal Monetary Penalties                                                                                       Judgrnent-Page8of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: l:17-CR-00442(l)

      tr         Restitution amount ordered pursuant to plea agreement $

      tr         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in   full
                 beforethefifteenthdayafterthedateofthejudgment,pursuantto18U.S.C.$3612(f).                    AllofthepaymentoptionsonSheet
                 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. $ 3612(9).
      tr         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                 tr              the interest requirement is waived for the

                 tr              the interest requirement for   the       is modified as follows:

      tr         The defendant's non-exempt assets,    if any,   are subject to immediate execution to satisfy any outstanding restitution or fine
                 obligations.

      * Justice for Victims of Traffrcking Act of 2015, Pub. L. No. I 14-22.
      * Findings forthe total amount of losses are required under Chapters 109A, 110, 110A, and l13A of Titte 18 for offenses committed
      on or after September 13, 1994, but before April23,1996.
                   Case: 1:17-cr-00442
ILND 2458 (Rev.0312912018) Judgment in
                                             Document #: 123 Filed: 11/30/18 Page 9 of 9 PageID #:689
                                 a Criminal Case
Sheet 6 - Schedule of Payments                                                                                                        Judgment- Page 9 of9
DEFENDANT: HIRSH MOHINDRA
CASE NUMBER: I : I 7-CR-00442(l)
                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:


A      tr     Lump sum payment of $100.00 due immediately.

              tr        balance due not   laterthan         , or

              E         balance due in accordance with      E   C,   E D, E   E, or    E   F below; or



B      tr     Payment to begin immediately (may be combined with              E   C,   E   D, or   E   F below); or


C      tr     Payment in   equal          (e.g. weekly, monthly, quarterly) installments of            $       over a period   of   (e.g., months   oryears),to
              commence                                              of this judgment; or
                                  (e.s., 30 or 60 days) after the date


D      tr     Payment in   equal          (e.g. weekly, monthly, quarterly) installments of            S
                                                                                                      over a period            of   (e.g., months or years),   to
              commence            (e.9., 30 or 60 dnys) after release   from imprisonment to a term of supervision; or

E      tr     Payment during the term of supervised release will commence              within
                                                                                         (e.s., 30 or 60 days) after release from imprisonment.
              The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      E      Special instructions regarding the payment of criminal monetary penalties:
              Defendant shall pay any unpaid financial penalty of at least l0% of net monthly income.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

A      Joint and Several

Case   Number                                   Total   Amount                        Several
                                                                                  Joint and                       Corresponding Payee,   if
Defendant and Co-Defendant Names                                                  Amount                          Appropriate
(including defendant number)

I :17 -cr-00442-2 Stev en Miller
I : 1 7-cr-004 42-3 Brian Patterson

**See above for Defendant and Co-Defendant Names and Case Numbers (including defendant
                                                                                       number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate.**

tr     The defendant shall pay the cost ofprosecution.


tr     The defendant shall pay the following court cost(s):


tr     The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court cost
